     Case 2:18-cr-00422-DJH Document 147-1 Filed 05/18/18 Page 1 of 1




 1
 2
 3
 4                             UNITED STATES DISTRICT COURT
 5
                                     DISTRICT OF ARIZONA
 6
 7   United States of America,                 ) CR-18-00422-PHX-SPL (BSB)
                                               )
 8                Plaintiff,                   )
     v.                                        )
 9
                                               ) [PROPOSED] ORDER
10                                             )
     1. Michael Lacey, and
     2. James Larkin,                          )
11
                                               )
12                                             )
                  Defendants.
                                               )
13
           Upon review of Henze Cook Murphy, PLC’s Motion for Extension of Time, there
14
     being no objection from the Government, and good cause appearing,
15
           IT IS HEREBY ORDERED extending the deadline for Henze Cook Murphy, PLC
16
     to respond to the United States’ pending Motion to Disqualify Counsel (Doc. 118) from
17
     May 23, 2018 to June 6, 2018.
18
           The Court finds excludable delay under 18 U.S.C. § 3161(h) from _______ to
19
     _______.
20
21
22
23
24
25
26
27
28
